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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

EDUARDO L. GONZALEZ                              §
                                                 §      CIVIL ACTION NO. 2:21-cv-126
v.                                               §      JURY
                                                 §
NUECES COUNTY, TEXAS                             §

                           PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       NOW COMES Eduardo L. Gonzalez (hereinafter “Plaintiff”), filing this his Plaintiff’s

Original Complaint, complaining of Nueces County, Texas (hereinafter “Defendant” or “Nueces

County”), and showing in support thereof as follows:

                                            I.
                                 JURISDICTION AND VENUE

1.     Plaintiff brings this action for compensation and other relief for violations under the Family

and Medical Leave Act of 1993 (“FMLA”), 29 U.S.C. §§2601 et seq. Plaintiff alleges that he was

harassed, discriminated against, suffered a hostile work environment, and was constructively

discharged from his position of employment with Nueces County in violation of the FMLA.

2.     Defendant was substantially in control of the terms of Plaintiff’s work and was Plaintiff’s

employer as defined by 29 U.S.C. §203(d).

3.     This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §

1331 (federal question). This court also has supplemental jurisdiction pursuant to 28 U.S.C.

§1367 to hear the state claims that will be set forth in this complaint. At all times pertinent to this

complaint, Defendant was an enterprise engaged in interstate commerce. The Court has personal

jurisdiction over Defendant because Defendant conducted business in Texas, has entered into

relationships with Plaintiff in Texas, and committed actions in Texas that give rise to this cause of
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action.

4.        Venue is proper in the Southern District of Texas pursuant to 28 U.S.C. § 1391 (b) because

a substantial part of the events or omissions giving rise to the claims herein occurred in said

District.

                                                II.
                                              PARTIES

5.        Plaintiff is an individual residing in Corpus Christi, Nueces County, Texas and has so

resided at all times material to this suit.

6.        Defendant is a political subdivision of the State of Texas and may be served with summons

upon Nueces County Judge Barbara Canales, at 901 Leopard Street, Room 303, Corpus Christi,

Texas 78401.

                                                III.
                                               FACTS

7.        Whenever in this complaint Plaintiff pleads that Defendant engaged in an act or omission,

Plaintiff likewise pleads that Defendant, its officers, agents, servants, employees or

representatives, engaged in said act or omission in the course and scope of employment and/or

with the full authorization or ratification of Defendant.

8.        On or about November 12, 2012, Plaintiff was hired by the Nueces County Sheriff’s Office

(“Department”) where he faithfully worked for nearly eight years as a Correctional Officer until

he was constructively discharged on or about September 10, 2020.

9.        On or about July 5, 2020, Plaintiff began experiencing symptoms of COVID-19, for which

he tested positive on July 7, 2020. As recommended by the Center for Disease Control (“CDC”),

Plaintiff went out on sick leave. When his health didn’t improve, Plaintiff went to see his family

doctor who – on or about August 10, 2020 – placed him on FMLA leave, which was effective (on




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or about) July 5, 2020, through (on or about) August 24, 2020. To be clear, Plaintiff was out on

FMLA leave for over seven (7) weeks.

10.    During his FMLA leave, it appears that Plaintiff was given 80 hours of paid leave pursuant

to the Families First Coronavirus Response Act (“FFCRA”) and used his accrued sick time/PTO

to cover the remainder of his leave.

11.    While out on FMLA leave, Plaintiff’s children’s school temporarily eliminated in-person

classes and switched to virtual learning instead, due to the pandemic. On or about August 25, 2020,

Plaintiff was finally well enough to return to work. Upon his return, Plaintiff explained his

children’s schooling situation to Captain Aranda and asked him for a temporary shift

change/schedule adjustment or additional leave in order to care for his children until he could find

proper childcare. Captain Aranda quickly denied Plaintiff’s request and constructively discharged

Plaintiff by telling him that he had no choice but to resign or be fired if he could not find childcare.

12.    Plaintiff then went to Captain Guzman, who verified that Plaintiff’s only options were to

be fired or resign – which really aren’t options at all. To be clear, immediately upon his return

from FMLA leave, Plaintiff was told by at least two supervisors that the Department could not

possibly accommodate a shift change – even a temporary one – and then constructively discharged

Plaintiff by giving him only the options of being fired or resigning. As such, on or about August

26, 2020, as directed, Plaintiff submitted a letter of resignation giving Defendant a two-week notice

(making his termination date September 10, 2020) – but ONLY because he was ordered to do so.

13.    A couple of days later and prior to his termination date, on or about September 2, 2020,

Plaintiff found childcare for his children so he immediately notified Chief Galvan and submitted

– in writing – a retraction of his two-week notice.




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14.    Unfortunately – and for no good or legitimate reason – Defendant responded by sending

Plaintiff a letter (1) denying his request to withdraw his resignation, (2) accepting his resignation

and (3) encouraging Plaintiff to apply for reinstatement. As such, Plaintiff’s employment was

involuntarily terminated by way of constructive discharge on September 10, 2020. After being out

on FLMA leave for several weeks, Defendant made the conscious decision to constructively

discharge Plaintiff for taking said FMLA leave.

15.    On or about November 2, 2020, Plaintiff (through his undersigned counsel) sent a letter to

Defendant, requesting reinstatement. On or about December 17, 2020, Defendant responded

(through his undersigned counsel), by denying Plaintiff’s request for reinstatement, but at the same

time notifying Plaintiff that “the Nueces County Sheriff’s Office has indicated that they would

consider re-hiring Mr. Gonzalez if he were to submit an employment application, as a new hire

with no back pay.”

16.    Based on the December 17th communication, Plaintiff immediately re-applied for

employment. Unfortunately, on (or about) December 28, 2020 – to Plaintiff’s dismay – Defendant

notified Plaintiff that he was not eligible to be considered for re-employment because he somehow

– although not explained by Defendant – did not meet the minimum qualifications for his

previously held position. Defendant made the conscious decision to constructively discharge

Plaintiff as a punishment for taking FMLA leave and then refused to re-hire him for no good or

legitimate reason.

                                   IV.
             VIOLATIONS OF THE FAMILY AND MEDICAL LEAVE ACT

17.    Plaintiff alleges Defendant’s unlawful actions in taking an adverse action against him for

requesting and taking leave for a serious health condition that made him unable to perform the

essential functions of his job, violates the Family and Medical Leave Act, justifying an award,



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inter alia, of back pay, front pay, interest, benefits, special damages, expenses, compensatory

damages, liquidated damages, and punitive damages against Defendants.

18.    29 U.S.C. § 2615(a)(2) of the FMLA makes it “unlawful for an employer to discharge or

in any other manner discriminate against an individual for opposing any practice made unlawful

by this subchapter.” § 2615(a)(2). To make a prima facie showing of retaliation under the FMLA,

Plaintiff must show that: (1) he was protected under the FMLA; (2) he suffered an adverse

employment decision; and either (3a) that he was treated less favorably than an employee who had

not requested leave under the FMLA; or (3b) the adverse decision was made because he took

FMLA leave. If Plaintiff succeeds in making a prima facie case, the burden shifts to Defendant to

articulate a legitimate nondiscriminatory or nonretaliatory reason for the employment action(s).

Hunt v. Rapides Healthcare Sys., LLC, 277 F.3d 757, 768(5th Cir. 2001). See also Chaffin v. John

H. Carter Co., Inc., 179 F.3d 316, 320(5th Cir. 1999); Bocalbos v. Nat'l W. Life Ins. Co., 162 F.3d

379, 383(5th Cir. 1998).

19.    Immediately upon his return from FMLA leave, Plaintiff was told the Department would

not allow him a (temporary) shift change to care for his children, who were forced to stay home

from school due to the COVID-19 pandemic. Therefore, Plaintiff was constructively discharged

by being forced to choose between being fired or resigning. Just a few days later, Plaintiff was

able to find childcare and submitted a written retraction of his two-week notice, which was rejected

for no good or legitimate reason. Then, after being encouraged by Defendant to re-apply, Plaintiff

was told he’s not eligible for re-hire because doesn’t meet the “minimum qualifications” with no

further reasoning or explanation. Plaintiff alleges that he was harassed, discriminated against,

suffered a hostile work environment, and was constructively discharged from his position of

employment with Nueces County in violation of the FMLA.




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WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that this Honorable

Court allow Plaintiff to recover from Defendant the following:

   a. all direct damages;

   b. consequential and incidental damages, which may include the value of lost income for
      advancements, lost salary income for future employment, and whatever else may be proven
      during the course of litigation;

   c. compensatory and non-compensatory damages, whether general or special, in an amount
      deemed sufficient by a trier of fact;

   d. liquidated and/or exemplary damages;

   e. attorney fees;

   f. court costs, including the costs of litigation;

   g. pre-judgment interest and post judgment interest, at the maximum rate allowed by law; and

   h. any other relief that the Court deems appropriate.

                                              Respectfully submitted,

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                            Demand for Jury Trial

     Plaintiff hereby demands trial by jury pursuant to Fed. R. Civ. P. 38(b).




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